         Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )      CRIMINAL NO. 19-CR-3113-JB
                                                   )
        vs.                                        )
                                                   )
 ROBERT PADILLA, a.k.a. “Fat Head,”                )
                                                   )
                Defendant.

                UNITED STATES’ RESPONSE IN OPPOSITION TO
           DEFENDANT ROBERT PADILLA’S MOTION FOR DISCLOSURE
              AND PRODUCTION OF CONFIDENTIAL INFORMANTS

       The United States of America, through its undersigned counsel, hereby responds in

opposition to Defendant Robert Padilla’s Motion for Disclosure and Production of Confidential

Informants. Doc. 240. The Defendant avers he “may call the confidential sources (CSs) as

possible witnesses at the trial in this case.” Doc. 240 at 1 (emphasis added). The Defendant goes

on to state that “the aforementioned CSs may possess exculpatory evidence as to Defendant. Id.

As a basis for his extensive request, the Defendant relies upon Giglio v. United States, 405 U.S.

150, 92 S. Ct. 763, 31 L. Ed. 2d 104 (1972) and Roviaro v. United States, 353 U.S. 53, 77 S. Ct.

623, 1 L. Ed. 2d 639 (1957). The United States respectfully requests that the Court deny the

defendant’s motion.

       The United States objects to the request, as the defendant fails to show any informant’s

testimony is relevant or essential to the fair determination of defendant’s case. Further, the

United States is unaware of any exculpatory material regarding the defendant in this case and

affirms that it has and will continue to comply with its obligations under Brady v. Maryland, 373

U.S. 83, 83 S. Ct. 1194, 10 L. Ed. 2d 215 (1963); Giglio, 405 U.S. 150; and Weatherford v.
          Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 2 of 10




Bursey, 429 U.S. 545, 97 S. Ct. 837, 51 L. Ed. 2d 30 (1977). Nonetheless, the Defendant

requests the full name and occupation of each CS; whether the informer was a citizen or police

informer; what consideration, if any, each CS received or will receive for cooperation and/or

testimony; the training and experience of each CS with drug traffickers; the narcotic or

controlled substance history and habit of each CS; any psychiatric history for each CS; the

criminal history, including probation and parole status of each CS; any and all statements, in

addition to the agent reports, that are material to this case and which should be disclosed to

Defendant; identification of prior testimony; and details or disclosure or reports regarding any

prior investigations involving each CS or the co-defendant. Doc. 240 at 2.

                                      LEGAL ARGUMENT

       There is no general constitutional right to discovery in a criminal case. Weatherford, 429

U.S. at 559. The government, however, is obligated to make disclosures required by the Federal

Rules of Criminal Procedure and by due process. See Fed. R. Crim. P. 16. The Due Process

Clause requires that the United States disclose to the defendant any evidence that “is material

either to guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.”

Brady, 373 U.S. at 87. The Supreme Court of the United States has extended the prosecution’s

disclosure obligation to include evidence that is useful to the defense in impeaching government

witnesses, even if the evidence is not inherently exculpatory. See Giglio, 405 U.S. at 153;

Douglas v. Workman, 560 F.3d 1156, 1172–73 (10th Cir. 2009) (“[N]o distinction is recognized

between evidence that exculpates a defendant and ‘evidence that the defense might have used to

impeach the [United States’] witnesses by showing bias and interest.’ ” (quoting United States v.

Bagley, 473 U.S. 667, 676, 105 S. Ct. 3375, 87 L. Ed. 2d 481 (1985)); United States v. Abello-




                                                  2
          Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 3 of 10




Silva, 948 F.2d 1168, 1179 (10th Cir. 1991) (“Impeachment evidence merits the same

constitutional treatment as exculpatory evidence.”).

        “The Constitution, as interpreted in Brady, does not require the prosecution to divulge

every possible shred of evidence that could conceivably benefit the defendant.” Smith v. Sec’y of New

Mexico Dep’t of Corr., 50 F.3d 801, 823 (10th Cir. 1995). The Supreme Court held that the

government has a privilege “to withhold from disclosure the identity of persons who furnish

information of violations of law to officers charged with enforcement of that law.” United States v.

Rivas, 26 F. Supp. 3d 1082, 1113 (D.N.M. 2014) (quoting Roviaro, 353 U.S. at 59. “The purpose of

the privilege is the furtherance and protection of the public interest in effective law enforcement. The

privilege recognizes the obligation of citizens to communicate their knowledge of the commission of

crimes to law-enforcement officials and, by preserving their anonymity, encourages them to perform

that obligation.” Roviaro, 353 U.S. at 59; Usery v. Local Union 720, Laborers’ Int’l Union of N. Am.,

AFL-CIO, 547 F.2d 525, 527 (10th Cir. 1977) (“Anonymity of informants encourages

communications to law enforcement officers.”).

        The privilege is not absolute, however, and where “the disclosure of an informer’s

identity ... is relevant and helpful to the defense of an accused, or is essential to a fair

determination of a cause, the privilege must give way.” Roviaro, 353 U.S. at 60–61. When an

informant is a “participant in and a material witness to” the alleged criminal transaction, the

disclosure of his or her identity is sometimes required. Roviaro, 353 U.S. at 65. The standard for

disclosure of CIs who play an active, as opposed to a passive, role in the investigation is not

fixed; rather, the court must consider: “(1) the crime charged, (2) the possible defenses, (3) the

possible significance of the informer’s testimony, and (4) other relevant factors.” Roviaro, 353

U.S. at 62; United States v. Gordon, 173 F.3d 761, 767 (10th Cir. 1999) (In balancing these




                                                    3
         Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 4 of 10




interests, the Court must consider the crime charged, the possible defenses, and the significance

of the informant’s testimony).

       “A defendant seeking to force disclosure of an informant’s identity has the burden to

show the informant’s testimony is relevant or essential to the fair determination of defendant’s

case. In determining whether to require disclosure, a court must balance the public interest in

protecting the flow of information against the individual’s right to prepare his defense.” Gordon,

173 F.3d at 767 (citing Roviaro, 353 U.S. at 62). “[T]he defendant must present more than mere

speculation about the possible usefulness of an informant’s testimony.” United States v. Moralez,

908 F.2d 565, 567 (10th Cir. 1990). The “[d]isclosure of an informant is not required . . . where

the informant is not a participant in or a witness to the crime charged.” Id.; See United States v.

Scafe, 822 F.2d 928, 933 (10th Cir. 1987); United States v. Halbert, 668 F.2d 489, 496 (10th Cir.

1982). Thus, disclosure is not required when the confidential informant is a “tipster” rather than

an active participant in the criminal activity charged. United States v. Zamora, 784 F.2d 1025,

1030 (10th Cir. 1986). “Where it is clear that the informant cannot aid the defense, the

government’s interest in keeping secret [the informant’s] identity must prevail over the

defendant's asserted right of disclosure.” United States v. Sinclair, 109 F.3d 1527, 1538 (10th

Cir. 1997).

       A. Defendant’s speculative claim must fail

       In this case, the defendant’s claim must fail, as he can only speculate that any particular

CS may possess exculpatory material, and may be called as a witness. The Tenth Circuit has

held that “mere speculation about the usefulness of an informant’s testimony is not sufficient” to

compel disclosure. Scafe, 822 F.2d at 933 (citations omitted); see also United States v. Ortiz, 804




                                                  4
         Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 5 of 10




F.2d 1161, 1167 (10th Cir. 1986) (“a defendant must do more than speculate about the usefulness

of information about an informer”) (citations omitted).

       Moreover, the onus is on the defendant to show any informant’s testimony is relevant or

essential to the fair determination of defendant’s case. Here, the defendant’s argument fails. The

defendant’s speculative request seeks a litany of information about every CS used during the

entire investigation, to include CSs who will not be witnesses in the government’s case-in-chief.

The investigation of this case spanned nearly two years, and involved the Drug Enforcement

Administration (DEA), the U.S. Marshals, the Internal Revenue Service (IRS), the Federal

Bureau of Investigation (FBI), and the New Mexico State Police (NMSP). While confidential

sources were used at various stages of the investigation, the defendant’s request is impermissibly

broad, and the defendant fails to make the requisite showing that any CS testimony is relevant or

essential to the fair determination of defendant’s case.

       For example, through a confidential source (CS), an undercover officer (UC) was

introduced to co-defendant Robert Hockman. On August 27, 2018, the United States sought and

obtained authorization to intercept Hockman’s wire and electronic communications over

HOCKMAN PHONE 2. The Affidavit for HOCKMAN PHONE 2 sets forth the full name of a

person identified as CS-1. On July 18, 2017, a Region 2 Narcotics Task Force Agent, acting in

an undercover capacity, drove a Region 2 CS (CS-2) to a location to meet with Hockman to

complete a CS-controlled purchase of methamphetamine. This controlled purchase was not

charged in the instant indictment. In each of the aforementioned instances, the CS will not be

called in the government’s case-in-chief. Each of these events occurred outside the date of the

conspiracy charged in Count 1 of the Indictment. In each instance, the defendant fails to show




                                                 5
          Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 6 of 10




that any of these individuals have any relevant and exculpatory information relating to the

defendant.

        B. Basis of indictment is misstated by the defendant

        Next, the defendant erroneously asserts that “the government’s ability to indict Mr.

Padilla is materially predicated and dependent upon statements made by these confidential

informants/witnesses.” 1 Doc. 240 at 3. The defendant misstates the evidence. The defendant is

charged in Counts 1, 3-5, 11, 12, and 14-19 of the 19-count indictment. Count 1 of the

Indictment indicates that this conspiracy began on or about September 17, 2018. On that date, a

UC ordered a large quantity of cocaine from co-defendant Hockman. Hockman then called the

defendant and placed the order for cocaine. That call was intercepted over HOCKMAN PHONE

2.

        On October 11, 2018, the United States sought and obtained authorization to intercept the

defendant’s wire and electronic communications over PADILLA PHONES 1 and 2. The

interception over PADILLA PHONE 1 featured hundreds of pertinent calls demonstrating that

the defendant is a leader and organizer of a large-scale, poly-drug trafficking organization. The

defendant spoke openly about drug trafficking, evading law enforcement, perceived cooperators,

and used terms commonly used by drug traffickers (white, soft, hard, black, clear, blues, etc.).

The defendant even provided instructions to his underlings on how to cook crack from cocaine,




1
 It is difficult to determine whether the defendant is seeking to compel the disclosure of any perceived
post-arrest statements by co-defendants. The United States will not confirm or dispel the defendant’s
notion that such materials exist. The United States takes the position that in cases where such information
exists, said statements are not co-conspirator statements, as the statements fall outside the scope of the
conspiracy. Further, Rule 16 entitles a defendant access to his/her own statements, but does not similarly
entitle him/her to the statements of her co-conspirators. See Fed. R. Crim. P. 16(a)(1)(A); United States v.
Lujan, No. 05-CR-924 RB, 2008 WL 11359112 at *2 n.4 (D.N.M. Oct. 21, 2008).

                                                     6
            Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 7 of 10




how to package drugs for further distribution, how to weigh drugs and zero out a scale, and how

to conduct a quick drug/money exchange between two vehicles.

       The ease with which the defendant communicated with his indicted and unindicted co-

conspirators can be seen when examining the intercepted calls beginning October 17, 2018,

through November 8, 2018. During that timeframe, on October 25, 2018, the defendant accepted

delivery of 2000 fentanyl pills. The delivery was observed by surveillance, captured by video,

and resulted in the seizure of the delivery vehicle when the source abandoned it after he detected

law enforcement. A drug detection dog alerted to the odor on the vehicle, but no drugs or money

were located. Nonetheless, the intercepted communications are clear regarding the quantity, and

the delivery. The calls after the delivery reveal the defendant claimed he had just received “a

shitload of pills,” and was busy distributing them to all his underlings, to include co-defendant

Tomas Sanchez, a.k.a. “TJ,” (hereinafter, TJ). In the days prior to the pill delivery, TJ had

ordered both cocaine, referring to it as “white,” and fentanyl pills.

       On November 8, 2018, during an intercepted call, TJ told the defendant about the death

of his girlfriend, later identified as C.M. In the weeks prior to that call, numerous calls were

intercepted between the defendant and TJ, demonstrating that the defendant provided and

cocaine to TJ for redistribution. TJ relayed his belief that his girlfriend had died from a fentanyl

overdose after taking pills from his stash. In strong terms, the defendant told TJ that he better not

say that again. The defendant ceased using PADILLA PHONE 1 the next day. Law enforcement

obtained the autopsy report, which concluded C.M. died from a toxic combination of cocaine and

fentanyl.

       Based on the information obtained over PADILLA PHONES 1 and 2, as well as other

investigative efforts, on December 13, 2018, the United States sought and obtained authorization



                                                  7
         Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 8 of 10




for the interception of PADILLA PHONE 3 and SOS-2 PHONE 1. While using PADILLA

PHONE 3, the defendant described to multiple people the circumstances of C.M.’s overdose

death, as well as the dangers of fentanyl.

       On or about March 8, 2019, as amended on March 14, 2019, the United States sought and

obtained authorization for the interception of PADILLA PHONES 4, 5 and 6, ROMERO

PHONE 1, and the PADILLA CAMERA SYSTEM. Through the interception of PADILLA

PHONE 6, on March 15, 2019, co-defendant Marcos Ruiz, one of the defendant’s distributors,

placed a call to the defendant complaining about the quality of cocaine the defendant provided to

him. Specifically, Ruiz complained that the cocaine would not yield the proper weight of crack

cocaine. The defendant immediately called his source of supply to discuss the quality of the

cocaine. As it turned out, Ruiz was mistaken; the defendant cooked crack from the same cocaine

batch and then sent a picture to Ruiz the same day, thereby proving the quality of the cocaine. In

addition to the communications, the photograph was intercepted.

       On or about April 1, 2019, agents used the intercepted communications over PADILLA

PHONE 6 to interdict a load after the defendant supplied cocaine to another person. The meeting

between the defendant and the recipient of the drugs was documented with photographs and

surveillance. Following the meeting, the New Mexico State Police stopped the vehicle driven by

the recipient of the drugs. A drug-sniffing canine alerted to the vehicle, and agents discovered six

ounces of cocaine in a suitcase in the trunk of the vehicle.

       The aforementioned activities give rise to several counts in the indictment. Thus, the

defendant’s suggestion that the indictment against the defendant relies upon CS testimony is

without merit.




                                                  8
         Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 9 of 10




       C. Discovery provided vets CSs

       The defendant suggests that his ability to defend himself against inculpatory statements

rests with this requested disclosure, and that agent reports will describe CS participation in the

alleged criminal activity that is unique to each CS. Doc. 240 at 3. In this case, the defendant has

been provided thousands of pages of discovery materials, to include agent reports, Title III

materials for several intercepted telephones and the defendant’s security system. Accompanying

the intercepts are summary line sheets reflecting the content of intercepted calls, and transcripts

of select calls. Accompanying the wiretap intercepts are applications, affidavits and orders

signed by a United States District Court Judge allowing the requested interceptions. Contained

in the affidavits are the qualifications for any CS relied upon for probable cause contained in

each affidavit. The qualification materials contain a summary of the criminal history of each CS,

as well as the reasons each CS is believed to be reliable. Moreover, each affidavit describes the

involvement of each CS in detail. The defendant has been provided with ample materials to

assess the credibility of any CS relied upon in the wiretap affidavits, and to defend against any

inculpatory statement by a CS, should one be deemed a necessary witness in the government’s

case-in-chief. Otherwise, such inculpatory statements would be hearsay and would be

inadmissible.




                                                  9
         Case 1:19-cr-03113-JB Document 271 Filed 09/04/20 Page 10 of 10




       The defendants have filed a motion to extend all of the current deadlines, and the current

trial setting. The proposed new trial date is October, 2021. Should the United States determine

that CS testimony is necessary in the government’s case-in-chief, it will promptly comply with

the disclosure requirements pursuant to obligations under Brady, 373 U.S. 83, Giglio, 405 U.S.

150; Weatherford, 429 U.S. 545; and the Jencks Act, 18 U.S.C. § 3500.

                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney

                                                     /s/ electronically filed September 4, 2020
                                                     ELAINE Y. RAMÍREZ
                                                     ROBERT I. GOLDARIS
                                                     Assistant United States Attorneys
                                                     P.O. Box 607
                                                     Albuquerque, NM 87103
                                                     (505) 346-7274




                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 4, 2020, I filed the foregoing document electronically
through the CM/ECF system. Pursuant to the CM/ECF Administrative Procedures Manual, §§ 1(a),
7(b)(2), such filing is the equivalent of service on parties of record.




       /s/_________________
Elaine Y. Ramírez
Assistant United States Attorney




                                                10
